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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

KRAFT HEINZ FOODS COMPANY,
a Pennsylvania limited liability company,
Plaintiff,

VS. No.

GROOME INDUSTRIAL SERVICE
GROUP LLC, a New Jersey limited liability
company,

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Defendant.
KRAFT HEINZ FOODS COMPANY'S COMPLAINT AT LAW

Plaintiff, Kraft Heinz Foods Company ("Kraft Heinz"), by its undersigned counsel, states
as follows for its Complaint at Law against Defendant, Groome Industrial Service Group, LLC
("Groome"):

BACKGROUND

1. Kraft Heinz seeks in this action to recover substantial damages it has incurred due
to a recall of dry powder beverage products caused by Groome's negligence in performing
specialized cleaning services that introduced foreign material into certain of Kraft Heinz's
products.

2. Kraft Heinz is the third-largest food and beverage company in the United States,
with dozens of brands known and trusted by generations of consumers, including Kraft, Heinz,
Oscar Mayer, Philadelphia, Ore-Ida, Lunchables and many others.

3. Kraft Heinz's portfolio also includes numerous iconic beverage brands, such as

Kool-Aid, which consumers have been enjoying for nearly one hundred years, Tang, which
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accompanied the astronauts on space flights beginning in the 1960s, and Country Time Lemonade,
which has been a summertime staple for nearly fifty years.

4. Kraft Heinz is a limited liability company organized under the laws of Pennsylvania
with co-headquarters in Chicago, Illinois and Pittsburgh, Pennsylvania. Kraft Heinz's members are
Kraft Heinz Intermediate Corporation II and HJH Development Corporation, both of which are
Delaware corporations with principal places of business in Pittsburgh, Pennsylvania.

5. At all relevant times, Groome held itself out to Kraft Heinz as providing specialized
silo cleaning services and represented to Kraft Heinz that its employees were trained, qualified,
competent and experienced to perform such cleaning services.

6. Groome is a New Jersey limited liability company organized under the laws of the
state of New Jersey, with its principal place of business in Fairfield, New Jersey. Groome is
registered to do business in Illinois, but, on information and belief, Groome's members are not
citizens of Illinois, Delaware, or Pennsylvania.

JURISDICTION AND VENUE

7. This Court has subject matter jurisdiction over this dispute pursuant to 28 U.S.C. §
1332 because there is complete diversity of citizenship between the parties and the amount in
controversy exceeds $75,000.

8. Personal jurisdiction exists over Groome because it purposely availed itself of the
laws of this jurisdiction and consented to jurisdiction by entering into an agreement with Kraft
Heinz and agreeing to be governed by the "Standard Terms and Conditions of Purchase — United
States" ("Terms"). A true and correct copy of the Terms are attached hereto as Exhibit A.

9. The Terms state that the "Laws applying to contracts made and fully performed in

the State of linois will govern... any legal action or proceeding arising out of or relating to the
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[agreement for services] will be brought exclusively in the U.S. District Court for the Northern
District of Illinois... and each party irrevocably submits to the sole and exclusive jurisdiction of
these courts in any action or proceeding." (Exhibit A, p. 4 § 11.)

10. Venue in the District Court for the Northern District of Illinois is proper pursuant
to 28 U.S.C. §1391(b)(1) and §1391(c)(2) because Groome is an entity with the capacity to sue
and be sued under applicable law and deemed to reside in any judicial district in which such
defendant is subject to the court's personal jurisdiction. Here, Groome has submitted and
consented to the personal jurisdiction of the U.S. District Court for the Northern District of Illinois.

NATURE OF THE ACTION

11. This action arises from Groome causing the introduction of foreign material into
certain of Kraft Heinz's dry powder beverage products following Groome's cleaning of a Kraft
Heinz fructose storage silo at its manufacturing facility in Dover, Delaware. Groome, a specialty
industrial maintenance company, cleaned the silo in August of 2021. Unbeknownst to Kraft Heinz,
Groome failed to remove a portable work light from the silo after it was cleaned. Despite not being
able to account for the missing work light (nor having documents reflecting its removal), Groome
failed to inform Kraft Heinz of the missing light and instead certified to Kraft Heinz that the silo
was fully cleaned and ready to be returned to operation. Relying on Groome's certification, Kraft
Heinz refilled the silo with fructose and commenced production of dry powder beverage mix
through utilization of the silo at issue. During this production, Groome's work light was crushed
into pieces under the weight of the refilled fructose, rendering millions of dollars' worth of work-

in-progress products and finished goods unsalable and causing an FDA recall.
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FACTS

A. Silo Cleaning and the Parties' Contract

12. Kraft Heinz stores fructose in large storage silos that feed the production lines for
dry powder beverages such as Kool-Aid, Tang and Country Time Lemonade, at its Dover, Delaware
manufacturing facility.

13. Toensure cleanliness and eliminate buildup of fructose inside the silos, Kraft Heinz
engages vendors to perform specialized cleaning of those silos, which are several stories tall and
wide enough for several individuals to fit inside. The silos narrow down at the bottom into a cone
shape. A butterfly valve separates these silos from the pipes that connect to the rest of the food
production system.

14. Silo cleaning is a specialized task involving trained Groome personnel being
lowered into the silos using ropes and scaffolding to clean the interior walls of the silos. Groome
uses portable lights to assist with the cleaning process.

15. | Groome represented to Kraft Heinz that it was qualified to clean the silos and would
take all necessary precautions to guard against leaving any equipment in the silos or otherwise
taking any action that would negatively impact Kraft Heinz's food production process. These
precautions were to be in place before, during and after the cleaning occurred.

16. On or about July 16, 2021, Kraft Heinz hired Groome to clean two silos at its
production facility in Dover, Delaware. Kraft Heinz issued purchase order number 4700886771
("Purchase Order") to Groome detailing the delivery date, quantity, unit price and total amount
that Kraft Heinz would pay Groome for the silo cleaning services. A true and correct copy of this

Purchase Order is attached hereto as Exhibit B.
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17. | Groome's Purchase Order is "governed by, and is subject to, the [Terms] effective
on the date this Purchase Order is received, which are incorporated by this reference. The [Terms]

are available at  http://(www.kraftheinzcompany.com/terms conditions purchase/purchase-

 

terms.html, and a copy is also available upon request of your purchasing contact. Unless and to
the extent that there is an executed agreement between the parties, acceptance of this Purchase
Order includes acceptance of the [Terms]." (Exhibit B.)

18. | Groome accepted all Terms, which were incorporated into the Purchase Order and
agreed to provide all supervision, labor, equipment and supplies to complete the silo cleaning.

19. __ As part of the acceptance of these terms, Groome agreed to conduct its work in a
safe and reasonable manner to protect Kraft Heinz's property from injuries, damages or losses.

20. | Groome further agreed that its work would be performed in accordance with both
industry standards and state and federal regulations.

21. Additionally, and upon completion of the silo cleaning, Groome agreed to remove
all of its equipment used in cleaning the silo.

B. Groome Failed to Remove its Portable Work Light after Cleaning

22. | Groome cleaned the first of Kraft Heinz's fructose silos in July of 2021 and the
second in August of 2021.

23.  Atall times, Groome was fully aware the silos were to be used in the production of
dry powder beverage mixes after their cleaning.

24. While cleaning Kraft Heinz's silos, Groome brought and utilized a Husky portable
work light ("Husky Light") to illuminate the interior of the silos during cleaning.

25. Silo one was cleaned without incident.
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26. However, during Groome's cleaning of silo two in August 2021, Groome left its
Husky Light in the bottom of the silo, where it was hidden beneath the butterfly valve at the base
of the silo.

27. Despite having the duty to be responsible for all equipment it brought into the
facility, including the need for its removal after cleaning, Groome failed to either remove the
Husky Light or inform Kraft Heinz that Groome had failed to remove it.

28. Instead, Groome certified to Kraft Heinz that the silo cleaning was properly
completed with all equipment removed from the silo.

C. The Husky Light Contamination

29. Kraft Heinz refilled silo two with fructose product and returned it to service, but
subsequently discovered foreign material in its production line and, upon emptying silo two in
October of 2021, found what remained of Groome's portable Husky light and the rope to which it
had been attached.

30. Kraft Heinz determined it was necessary to issue a voluntary recall for certain
Country Time Lemonade and Kool-Aid dry powder beverage mixes due to the potential presence
of foreign material and notified the U.S. Food & Drug Administration ("FDA") of the incident.

31. On November 20, 2021, after further engagement and cooperation with the FDA,
Kraft Heinz expanded its recall to include additional production dates and other products,
including certain Tang and Arizona Tea dry powder beverage mixes.

32. Asaresult of this recall, Kraft Heinz sustained millions of dollars in damages.

COUNT I- BREACH OF CONTRACT
33. | Kraft Heinz adopts and incorporates paragraphs 1 to 32 above as paragraph 33 of

its Complaint as though fully set forth herein.
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34.

The agreement between Kraft Heinz and Groome was a lawful, binding and

effective agreement.

35.

Kraft Heinz agreed to pay Groome for, and Groome agreed to perform, specialized

industrial cleaning services of Kraft Heinz's silos in an expert manner that would avoid the

contamination of Kraft Heinz's products.

36.
agreement.
37.

manners:

Kraft Heinz fully performed and satisfied all its obligations required under the

Groome, however, breached the agreement in one or more of the following

. Failing to perform all services in a professional and workmanlike manner in

accordance with industry standards and applicable specifications (see Exhibit

A, p. 2, 43);

. Failing to remove all equipment used in cleaning the silo upon completion of

the silo cleaning;

. Failing to properly inspect Kraft Heinz's silo for foreign material, after cleaning

and prior to certification of completion;

. Failing to monitor and supervise the proper and safe performance of Groome's

employees, including any foremen and supervisors who were responsible for

overseeing the work performed by Groome's employees;

. Failing to perform work that complied with Kraft Heinz's policies despite

representing it would do so;
Failing to perform its work in accordance with industry standards and state and

federal regulations;
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g. Failing to take all reasonable steps to ensure that the services were provided in
a manner that complied with Kraft Heinz's premises policy and further that did
not restrict or prevent Kraft Heinz from operating its business with minimal
disruptions (see Exhibit A, p. 2, 93);

h. Failing to comply with all laws, statutes, ordinances, codes, regulations, rules,
directives and orders of any federal, state, local municipal or foreign
governmental entity or agency applicable to Groome's performance of its
obligations under the Purchase Order, including, without limitation, the
Occupational Safety and Health Act of 1970, the rules of the Food and Drug
Administration and the Illinois Sanitary Food Preparation Act (see Exhibit A,
p. 2, 94); and

i. Failing to comply with Kraft Heinz's supplier quality expectation manuals.

38. As a result of Groome's breach of the agreement, Kraft Heinz has sustained
pecuniary, economic, tangible, intangible, consequential and monetary losses and will continue to
sustain such losses in the future.

WHEREFORE, Kraft Heinz respectfully requests this Honorable Court enter judgment in
its favor and against Groome in an amount to be determined at trial, but in excess of $75,000, and
that the Court award Kraft Heinz the costs of suit, statutory pre-judgment interest and any other
further relief it deems just and appropriate.

COUNT II -INDEMNIFICATION
39. Kraft Heinz adopts and incorporates paragraphs 1 to 38 above as paragraph 39 of

its Complaint as though fully set forth herein.
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40. The Parties agreed that the Purchase Order and Terms would control their
relationship.

41. | Under the Terms, Groome agreed to "indemnify, defend and hold harmless" Kraft
Heinz" from and against all losses, damages, liabilities, settlements, judgments, demands, fines,
penalties, awards, costs and expenses (including reasonable attorney's fees and court costs) arising
from any claims, actions, suits, demands, or proceedings (whether or not involving a third-party)
arising out of or in connection with the performance of the PO or Order, any breach of Supplier's
watranties, representations, covenants or other obligations or duties contained in the PO or Order
or any breach or violation of any other obligation or duty under applicable Law, negligent acts or
omissions, or willful misconduct relating to the PO or Order" committed by Groome or its
employees or agents. (See Exhibit A, p. 4, 99.)

42. | Groome's conduct in leaving the Husky Light inside Kraft Heinz's silo two has
caused and exposed Kraft Heinz to significant damages, including payments to customers and
other losses.

43. Asa result of Groome's conduct, Kraft Heinz may also be subject to additional
future claims, actions, suits, demands or proceedings arising out of or in connection with the Husky
Light contamination requiring Groome's indemnification and defense of Kraft Heinz.

44. | Groome owes Kraft Heinz for any and all compensation for "costs and expenses
(including reasonable attorney's fees and court costs)" incurred by Kraft Heinz as a result of
Groome's negligent performance and breaches related to the PO, including its warranties and

representations.
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WHEREFORE, Kraft Heinz respectfully requests this Honorable Court enter judgment in
its favor and against Groome in an amount to be determined at trial, but in excess of $75,000, and
that the Court award Kraft Heinz the costs of suit, attorney's fees, statutory pre-judgment interest
and any other further relief it deems just and appropriate.

COUNT Ill -NEGLIGENCE

45. Kraft Heinz adopts and incorporates paragraphs 1 to 32 above as paragraph 45 of
its Complaint as though fully set forth herein.

46. Groome owed duties to Kraft Heinz to conduct itself in a safe and proficient
manner while in and around Kraft Heinz's silo consistent with its purported level of expertise,
implement and follow proper guidelines, properly inspect the silo, properly train, monitor and
supervise its employees, comply with federal and state laws and properly remove the Husky Light
so that the silo may be used for its intended purpose and so as to not damage Kraft Heinz's other
property and products.

47. | Groome breached its duties to Kraft Heinz, in one or more of the following
manners:

a. Failing to perform all services in a professional and workmanlike manner in
accordance with industry standards;

b. Failing to remove all equipment used in cleaning the silo upon completion of
the silo cleaning;

c. Failing to properly inspect Kraft Heinz's silo for foreign contaminants, after

cleaning and prior to certification of completion;

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d. Failing to monitor and supervise the proper and safe performance of Groome's
employees, including any foremen and supervisors who were responsible for
overseeing the work performed by Groome's employees;

e. Failing to perform its work so as to not damage Kraft Heinz's property and
products;

f. Failing to perform its work in accordance with industry standards and state and
federal regulations; and

g. Failing to comply with all applicable laws, statutes, ordinances, codes,
regulations, rules, directives and orders of any federal, state, local municipal or
foreign governmental entity or agency, including, without limitation, the
Occupational Safety and Health Act of 1970, the rules of the Food and Drug
Administration and the Illinois Sanitary Food Preparation Act.

48. | Groome's aforementioned breaches and related conduct directly and proximately
caused contamination of and damage to Kraft Heinz's dry powder beverage mix products. As a
result of the contamination, Kraft Heinz has sustained, and will sustain, significant damage in the
form of lost production, lost products, lost profits, lost ingredients, loss of reputation, production
disruptions, product recall, cleaning and sanitation costs, legal costs and expenses, damages to
Kraft Heinz property and exposure to potential lawsuits and claims.

WHEREFORE, Kraft Heinz respectfully requests this Honorable Court enter judgment in
its favor and against Groome in an amount to be determined at trial, but in excess of $75,000, and
that the Court award Kraft Heinz the costs of suit, statutory pre-judgment interest and any other

further relief it deems just and appropriate.

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Respectfully submitted,

Dated: March 11, 2022 By: /s/ P. Stephen Fardy

 

One of the Attorneys for Plaintiff
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Kraft Heinz

STANDARD TERMS AND CONDITIONS OF PURCHASE — UNITED STATES

These Standard Terms and Conditions of Purchase are
incorporated into and made a part of the Purchase
Order (“PO”) or the Service Order or other order
(“Order”) by and between the entity identified as
supplier, vendor, manufacturer, distributor, seller or
other similar designation on the PO or Order
(“Supplier”) and Kraft Heinz Foods Company (or the
affiliate specified on the PO or Order) (“Kraft
Heinz”). The term “party” herein refers to either
Kraft Heinz or Supplier, and the term “parties” herein
refers to both Kraft Heinz and Supplier.

Kraft Heinz agrees to purchase and Supplier agrees to
sell the products, goods, materials, ingredients, parts,
items, or equipment (“Products”) and/or perform the
services (“Services”) specified on the PO or Order.
Supplier accepts the PO or Order by informing Kraft
Heinz of its acceptance, beginning to perform under it,
or otherwise taking any action that would constitute
acceptance under applicable Laws.

1. PO/Order_ Structure; Entire Agreement;
Amendment. The PO or Order consists of: these

Standard Terms and Conditions of Purchase; the
provisions on the cover page of the PO or Order
containing the link to these Standard Terms and
Conditions of Purchase (also referred to herein as the
“face” of the PO or Order); any exhibits or
attachments to such PO or Order; and any documents
incorporated by reference herein or therein. The PO or
Order constitutes the entire agreement between the
parties with respect to the Products and Services
ordered thereunder and supersedes all prior or
contemporaneous understandings, negotiations,
communications, and agreements, with respect to the
subject matter thereof. Kraft Heinz rejects any and all
additional, different, or inconsistent terms or
conditions contained in or incorporated into any
quotations, acknowledgements, invoices or any other
business document or form (electronic or otherwise)
that Supplier provides to solicit the PO or Order from
Kraft Heinz or sends in response to the PO or Order.
No amendment, deletion, supplement or change to the
PO or Order by Supplier will be binding unless in a
written document signed by both Kraft Heinz and
Supplier. Notwithstanding the foregoing, if the PO or
Order references an agreement in effect between Kraft
Heinz (or its affiliate) and Supplier, the terms of that
agreement will apply with respect to the sale and
purchase of Products and/or the performance of
Services under the PO or Order, and these Standard
Terms and Conditions of Purchase will not apply.

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2. Prices and Payment. Supplier will sell
Products and/or Services to Kraft Heinz at the price

stated in the PO or Order, which Supplier agrees will
not be higher than the price Supplier charges similar
customers for similar volumes. The price includes all
costs to be charged to Kraft Heinz, unless Kraft Heinz
agrees in advance in writing to reimburse Supplier for
specific out-of-pocket costs, in which case Supplier
will list such costs on the invoice without mark-up
after any discount or rebate and provide copies of
original receipts if any such costs exceed US$25, or
otherwise upon Kraft Heinz’s request.

Supplier will invoice Kraft Heinz for Products only
after Supplier has delivered them, and for Services
only after Supplier has completely performed them.
Each invoice must include information Kraft Heinz
reasonably requests.

Unless otherwise specified on the face of the PO or
Order, payment terms are 90 days from the end of the
month in which Kraft Heinz receives acceptable
Products and/or Services or a correct invoice,
whichever is later, plus 7 days. Kraft Heinz has no
obligation to pay invoices Kraft Heinz receives for
Products or Services more than 6 months after they are
delivered or performed. Kraft Heinz may withhold
disputed amounts under the PO or Order until the
dispute is resolved, and Kraft Heinz may offset any
amounts Supplier or its affiliates owe Kraft Heinz.

3. Warranties, Representations, and
Covenants. Supplier represents and warrants that all

Products and their packaging will: (a) strictly comply
with Kraft Heinz’s specifications (or Supplier
specifications that Kraft Heinz has approved if no
Kraft Heinz specifications are to be provided); (b) be
of new material, good quality and workmanship, and
free from defects; (c)not impart any unintended
flavor, odor, or color to any Kraft Heinz finished
goods (whether from the Products delivered or their
packaging); (d) be fit for the use intended by Kraft
Heinz (including fit for human consumption where
such is intended); (e) conform to all samples approved
by Kraft Heinz; (f) be provided to Kraft Heinz with
good title, free and clear of any liens and
encumbrances; (g) be produced at a facility approved
in advance by Kraft Heinz; (i) not, to Supplier’s
knowledge, cause exposure to any chemical
determined under the California Safe Drinking Water
and Toxic Enforcement Act of 1986 and its regulations
and amendments (commonly known as Prop 65) to
cause cancer or reproductive toxicity; (j) not infringe,

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Kraft Heinz

nor will Kraft Heinz’s use of them infringe, the
intellectual property rights of any third party; and (k)
strictly comply with any other warranty, representation
and/or covenant that Supplier has expressly extended
to Kraft Heinz regarding the Products or Services.

Supplier will comply with applicable Kraft Heinz
Supplier Quality Expectations Manuals, security
guidelines and other guidelines that Kraft Heinz
broadly requires its suppliers to meet, which are
incorporated herein by reference (including ingredient-
specific and external manufacturing requirements).
Supplier acknowledges receiving the manuals and
specifications, which are made a part of the PO or
Order. Such manuals and specifications may be
changed by Kraft Heinz upon notice to Supplier, and
Supplier must comply with any changed manuals and
specifications within 30 days of receiving notice.
Supplier will inform Kraft Heinz immediately (and
provide any relevant information and documentation)
if Supplier learns of any potential quality, safety or
labeling problem with Products or any potential
violation of Supplier’s obligations in the PO or Order.

Supplier represents and warrants Services provided
under the PO or Order (a) will be performed diligently
and in a professional and workmanlike manner in
accordance with the provisions of the PO or Order,
industry standards, and applicable specifications and
(b) will not infringe, nor will Kraft Heinz’s use of
them infringe, the intellectual property rights of any
third party. Supplier will not create or permit any
liens or third-party security interests affecting the
Services or any deliverables provided in connection
with the Services, Kraft Heinz, or any materials or
equipment Kraft Heinz provides for the Services.
Additionally, Supplier must comply with any and all
of Kraft Heinz’s policies relating to the premises
where Services are to be performed and must take all
reasonable steps to ensure that Services are provided
in a manner that does not restrict or prevent Kraft
Heinz from carrying on its business and_ that
minimizes disruptions.

Supplier hereby assigns to Kraft Heinz any warranties
related to Products and/or Services, or if Supplier
cannot assign them, Supplier agrees to make claims
under them on Kraft Heinz’s behalf at the request of
Kraft Heinz. Supplier will ensure that its employees,
contractors, subcontractors, and agents comply with
the PO or Order and, when at a Kraft Heinz premises,
the safety and security requirements of Kraft Heinz.

4. Compliance with Law. Supplier will
comply with all laws, statutes, ordinances, orders,

codes, regulations, rules, regulations, directives, and
orders of any federal, state, local, municipal or foreign

governmental entity or agency (“Laws”) applicable to
Supplier’s performance of its obligations under the PO
or Order, including, without limitation, the production,
manufacturing, packaging, storage, shipment, and sale
of the Products or the provision of Services.

Supplier represents and warrants that all foods (or
substances provided for use in or for foods)
comprising each shipment or other delivery made to
(or on the order of) Kraft Heinz will not, as of the date
of such shipment and delivery: (i) be adulterated or
misbranded within the meaning of the U.S. Federal
Food, Drug and Cosmetic Act of 1938, as amended
(the “FFDCA”) and the U.S. Federal Fair Packaging
and Labeling Act of 1966, as amended (together with
the FFDCA, the “Federal Acts”), or any other food or
drug Laws under which the adulteration and
misbranding provisions are substantially the same as
those found in the Federal Acts; or (ii) be or contain an
article that may not be introduced into interstate
commerce under the FFDCA. Upon the request of
Kraft Heinz, Supplier will sign pure food guarantees
provided by Kraft Heinz which are generally
consistent with the FFDCA.

Supplier further represents and warrants that Supplier
and its employees, officers, directors, contractors,
subcontractors, agents, and other representatives will
comply with all applicable anti-corruption Laws
(including the U.S. Foreign Corrupt Practices Act, the
U.K. Bribery Act of 2010 and the Canada Corruption
of Foreign Public Officials Act) and Supplier further
represents and warrants that neither Supplier, nor any
of its employees, officers, directors, contractors,
subcontractors, agents, or other representatives, have
made any payments in connection with the PO or
Order which could violate any applicable anti-
corruption Laws.

Supplier expressly warrants that it is selling or
furnishing the Products and/or Services in full
compliance with the Occupational Safety and Health
Act of 1970, as amended, and all standards, rules,
regulations, and orders issued pursuant thereto, and all
other federal and state occupational safety and health
Laws, the provisions of which are substantially the
same as those found in such Act or administered by
any state pursuant to that Act. Supplier will furnish
Kraft Heinz with a Material Safety Data Sheet with
each shipment, delivery, or provision of a hazardous
chemical or hazardous material to Kraft Heinz in strict
compliance with the hazard communication
regulations of the Occupational Safety and Health
Administration of the U.S. Department of Labor and
any and all state and local hazard communication,
right-to- know, and similar and related Laws.
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Kraft Heinz

If standard practice of Supplier or requested by Kraft
Heinz, Supplier will certify, at the time of delivery or
invoicing, that Products sold hereunder were
manufactured or produced in full compliance with the
Fair Labor Standards Act of 1938, as amended to the
date of certification, and all applicable United States
Department of Labor rules, regulations or guidelines
thereunder.

5. Materials and Other Resources. Unless
Kraft Heinz provides Supplier with materials,
equipment or tooling in connection with the PO or
Order, Supplier, at its sole cost and expense, will
obtain all necessary materials, equipment, tooling,
ingredients, personnel, and supplies to perform its
obligations under the PO or Order. Kraft Heinz may
direct Supplier to purchase materials from certain
suppliers and Supplier will do so unless it would cause
Supplier to breach its existing contracts. Supplier will
only use such materials to perform under the PO or
Order and will pass through to Kraft Heinz any rebates
or other savings Supplier receives as a result. If Kraft
Heinz provides Supplier with any materials,
equipment or tooling in connection with the PO or
Order: (i) they are provided “AS IS”, (ii) they will
remain Kraft Heinz property, (iii) Supplier will
maintain them in good condition (normal wear and
tear excepted), (iv) Supplier will ensure they remain
free of any liens or security interests, (v) Supplier will
only use them in connection with the PO or Order, and
(vi) Supplier will return them to Kraft Heinz in good
condition (normal wear and tear excepted) or
otherwise dispose of them as Kraft Heinz directs.
Using materials, equipment, or tooling provided by
Kraft Heinz or using a supplier directed by Kraft
Heinz will not relieve Supplier of any of its
obligations under the PO or Order or shift any liability
from Supplier to Kraft Heinz.

6. Changes _and Cancellations; Suspension.
Before Supplier delivers Products or performs
Services, Kraft Heinz may request changes. If Kraft
Heinz or Supplier can demonstrate that such change
will impact Supplier’s ability to timely deliver
Products or perform Services, Kraft Heinz and
Supplier will negotiate an equitable adjustment to the
delivery schedule for such Products or the
performance schedule for such Services, as applicable.
Kraft Heinz may cancel the PO or Order with respect
to any Products not yet delivered or Services not yet
performed by notifying Supplier (unless otherwise
specified on the face of the PO or Order). After Kraft
Heinz notifies Supplier, Supplier will take all
reasonable steps to minimize costs due to Kraft
Heinz’s cancellation. As Supplier’s exclusive remedy
for cancellation, Kraft Heinz will pay Supplier for
Supplier’s unavoidable costs incurred before receiving

notice of cancellation (less any savings realized from
Kraft Heinz’s cancellation or related mitigation
efforts) that Supplier can document to Kraft Heinz’s
reasonable satisfaction.

Kraft Heinz may suspend the PO or Order
immediately on notice to Supplier if Kraft Heinz
reasonably believes that Supplier’s action or omission
causes a health, security, or safety concern, or results
(or will likely result) in a recall or market withdrawal
of Kraft Heinz finished goods. Kraft Heinz may
suspend such PO or Order until such time as Kraft
Heinz is satisfied that the action, omission, or breach
has been adequately remedied.

7. Shipping and Delivery. Time is of the
essence with respect to Supplier’s obligations under

the PO or Order. All Products will be delivered and
Services performed on weekdays during Kraft Heinz
normal business hours, unless otherwise stated on the
PO or Order.

All Products will ship F.C.A. Kraft Heinz’s designated
delivery location, unless otherwise stated on the PO or
Order. Supplier must properly package Products for
shipment and properly label all units with Supplier’s
name, description of Products, PO or Order number
and any other identifying information Kraft Heinz
requires. Supplier will provide accurate and complete
information on all shipping and customs documents,
including a description of the Products, country of
origin and manufacture, currency, and delivery terms.
Except as the PO or Order otherwise expressly
provides, title to and risk of loss on Products will pass
to Kraft Heinz at the f.0.b. point designated on the face
of the PO or Order.

8. Non-Compliant and Defective Products or
Services. If any quantity of Products is defective, fails

to comply with any of the warranties, representations,
and covenants set forth in Section 3, or does not
conform to samples, descriptions, specifications or
other requirements of the PO or Order, Kraft Heinz
may, at its option and without prejudice to any other
right and remedy available at law or in equity, reject
all of such quantity, accept all of such quantity, or
accept any commercial unit or units of such quantity
and reject the rest. Supplier will reimburse Kraft
Heinz in full for the quantity of Products rejected
within 30 days of notice of rejection, and/or upon
Kraft Heinz’s request and at Supplier’s sole expense,
replace or satisfactorily repair the quantity of Products
rejected by Kraft Heinz within 10 days of notice of
rejection. Supplier will assume any and all costs of
transportation and handling both ways for rejected
Products and any other related expenses, including
incremental storage and handling costs, with title and
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Kraft Heinz

risk of loss passing to Supplier at Kraft Heinz’s
location, unless Kraft Heinz otherwise specifies at the
time of return. Supplier will, at its own expense,
dispose of rejected Products in accordance with Kraft
Heinz’s direction.

If any of the Services are defective, fail to comply
with any of the warranties, representations, and
covenants set forth in Section 3, or do not conform to
specifications or other requirements of the PO or
Order, Kraft Heinz may, at its option and without
prejudice to any other right or remedy available at law
or in equity, reject all or any part of such Services.
Supplier will, at Kraft Heinz’s option, re-perform such
Services at no additional cost or provide a refund to
Kraft Heinz in the amount of the price paid for the
Services.

9. Indemnification. Supplier will indemnify,
defend and hold harmless Kraft Heinz, its affiliates,
and their respective employees, officers, directors and
agents from and against all losses, damages, liabilities,
settlements, judgments, demands, fines, penalties,
awards, costs and expenses (including reasonable
attorney’s fees and court costs) arising from any
claims, actions, suits, demands, or proceedings
(whether or not involving a third-party) arising out of
or in connection with the performance of the PO or
Order, any breach of Supplier’s warranties,
representations, covenants or other obligations or
duties contained in the PO or Order or any breach or
violation of any other obligation or duty under
applicable Law, negligent acts or omissions, or willful
misconduct relating to the PO or Order by Supplier, its

employees, officers, directors, contractors,
subcontractors or agents.
10. Insurance. During the term of the PO or

Order and for one year thereafter, Supplier will, at its
own expense, maintain the insurance coverage types
and amounts specified below:

(a) Workers’ Compensation Insurance —
Statutory;
(b) Employer’s Liability Insurance in an amount

not less than: US$500,000 - Each Accident,
US$500,000 - Disease Policy Limit, US$500,000 -
Disease Each Employee;

(c) Commercial General Liability Insurance
(including Contractual Liability, Products/Completed
Operations, and Personal Injury coverages) with
minimum limits of liability of US$5,000,000 for any
one occurrence and US$5,000,000 in the aggregate;

(d) Automobile Liability Insurance covering
owned, non-owned, rented, and hired vehicles —
combined single limit of US$2,000,000 for each
accident, with a combined single limit for bodily
injury and property damage (Note: if no vehicle is
used for the provision of Products and/or Services
under this PO, this coverage requirement can be
waived); and

(e) If Supplier is a licensed professional (e.g.,
auditor, consultant, designer, engineer, software
developer, etc.) Professional Liability Insurance
covering liability for damages caused by an error,
omission, or negligent act in the provision of the
Products and/or the performance of Services with
minimum limits of liability of US$5,000,000 per
occurrence and US$5,000,000 in the aggregate.

Supplier must obtain the required insurance from
reputable insurers that (i) are licensed to do business in
the locations in which Supplier’s obligations
hereunder are fulfilled and (ii) have a rating of at least
“A-” from the AM Best rating service or its
equivalent. Supplier will ensure that Kraft Heinz is
named as an additional insured and that Supplier
insurance carriers waive rights of subrogation against
Kraft Heinz’s insurance. Supplier may use primary
plus umbrella coverage to satisfy the required limits.
Supplier will cause its insurers to issue certificates of
insurance evidencing that the coverages and policy
endorsements required under the PO are maintained
and that not less than 30 days’ written notice will be
given to Kraft Heinz prior to any cancellation or non-
renewal of the policies.

11. Dispute Resolution and Governing Law.
The Laws applying to contracts made and fully

performed in the State of Illinois will govern the PO or
Order. The provisions of the United Nations
Convention on Contracts for the International Sale of
Goods will not apply to the PO or Order. If Kraft
Heinz and Supplier cannot resolve a dispute regarding
the PO through good faith negotiation, any legal action
or proceeding arising out of or relating to the PO or
Order will be brought exclusively in the U.S. District
Court for the Northern District of Illinois (unless that
court does not have jurisdiction over the action or
proceeding, in which case the action or proceeding
will be brought exclusively in state court in Cook
County, Illinois), and each party irrevocably submits
to the sole and exclusive jurisdiction of these courts in
any action or proceeding. The parties waive their right
to a jury trial in any action or proceeding arising out of
or related to the PO or Order.
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12. Force Majeure Events. If either party is
unable to perform its obligations under the PO or

Order due to any act of God, fire, casualty, flood,
earthquake, war, epidemic, riot, insurrection, or any
other cause beyond its reasonable control (“Force
Majeure Event”), that party will promptly notify the
other party in writing, its performance under the PO or
Order will be temporarily excused. The affected party
will make reasonable efforts to mitigate the effects of
the Force Majeure Event and to resume performance
as soon as practicable. If the inability to perform
continues for more than 20 days, the other party may
cancel the PO or Order immediately, without costs or
penalty, by giving written notice to the affected party.
Unexpected cost increases caused by events or
changing market conditions, and labor strikes, work
slowdowns, or other job actions at Supplier’s facility
are not a Force Majeure Event.

13. Audit Rights. At any time until the
expiration of one year after the final payment under
the PO or Order, Kraft Heinz may audit Supplier
records and inspect Supplier’s facilities related to the
PO or Order in order to: (i) evaluate Supplier’s quality
and food protection procedures and compliance with
applicable specifications and manuals (“Quality
Audit”), (ii) evaluate Supplier’s compliance with the
Kraft Heinz Supplier Guiding Principles as referenced
in Section 24 below (“SGP Audit”), and (iii) verify
that pricing, pass-through costs, reimbursable
expenses, or other financial provisions conform to the
PO or Order (“Financial Audit”). Audits may be
conducted by Kraft Heinz or third-party auditors, as
determined by Kraft Heinz, and Supplier will not
request that any auditor sign an additional agreement
in order to conduct the audit. Kraft Heinz may also
require that Supplier complete a questionnaire either in
lieu of or in advance of an audit or that Supplier
register with and submit information to a third-party
that Kraft Heinz has selected to manage audit
information. For SGP Audits and Quality Audits,
Kraft Heinz will bear its own internal costs, and
Supplier will bear its own internal costs and all other
audit costs (including those of any third-party auditor).
For Financial Audits, Kraft Heinz will bear its own
internal costs and the cost of the auditors, unless Kraft
Heinz discovers any deficiency or non-compliance as
to the PO or Order, in which case Supplier will
promptly pay any overcharges and reimburse Kraft
Heinz’s reasonable audit costs. In the event of a
finding of deficiency or non-compliance, in addition to
any other right or remedy of Kraft Heinz, Supplier will
promptly take all corrective action that Kraft Heinz
reasonably requires and Kraft Heinz or its
representative may audit Supplier’s facilities or
records as often as reasonably necessary to verify
correction. Kraft Heinz may suspend performance

under the PO or Order until any deficiency or non-
compliance is corrected, in addition to other remedies
Kraft Heinz may have. If Supplier refuses any audit,
Kraft Heinz can withhold payment.

14. Confidential Information. Supplier
acknowledges that in the provision of Products or
Services, Kraft Heinz may provide, or Supplier may
otherwise obtain or see, non-public information,
materials, or data that Kraft Heinz considers
proprietary and/or confidential (“Confidential
Information”). Supplier will maintain all
Confidential Information that it has seen or received or
will in the future see or receive in the strictest
confidence, and Supplier will not use Confidential
Information or other information provided by Kraft
Heinz, except as necessary to perform its obligations
under the PO or Order. Supplier agrees to only
disclose Confidential Information to its employees or
agents as and to the extent necessary to enable
Supplier to perform under the PO or Order. Supplier
will inform each of its employees and agents that have
access to such Confidential Information of the
obligations under this Section and Supplier will obtain
the agreement of each such employee or agent to
comply with the provisions of this Section. Supplier
will be responsible for any breach of this Section by
any employee, agent, or representative. Kraft Heinz
owns the Confidential Information and Supplier must
return or destroy it (including all copies thereof) if
requested by Kraft Heinz. Except as provided with
respect to an audit in accordance with Section 13
above (in which case only the technical information
identified in writing and which Kraft Heinz needs to
know will be disclosed) or upon Kraft Heinz’s prior
written consent, Supplier agrees and acknowledges
that it will not provide to Kraft Heinz any Supplier or
third-party confidential technical information.

15. Custom Work. If Supplier creates,
produces, or develops tangible or intangible work
product or deliverables for Kraft Heinz under the PO
or Order, makes modifications to the specifications or
any process related to Products and/or Services
specifically for Kraft Heinz, or makes modifications to
Confidential Information or intellectual property of
Kraft Heinz ("Custom Work"), Kraft Heinz owns
such Custom Work. Supplier hereby assigns all rights,
title and interest in the Custom Work to Kraft Heinz
and represents and warrants that: (a) the Custom Work
was developed through Supplier’s sole and original
efforts and does not infringe the intellectual property
or privacy rights of any person, and (b) Supplier has
no other arrangements that would interfere with
assigning all of Supplier’s interest in the Custom
Work to Kraft Heinz.
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Kraft Heinz

16. Taxes. Unless both parties agree otherwise
in writing, each party will be responsible for its own
respective taxes as required by applicable Laws. If
Supplier is required to charge tax (e.g., state sales tax)
or if Kraft Heinz is required to withhold tax, then the
party required to remit such tax to a governmental
authority having responsibility for assessment or
collection of such tax will give the other party the
opportunity to demonstrate (and document) how such
charge or withholding may be mitigated (for example,
by providing a sales tax exemption certificate). Any
taxes charged to Kraft Heinz must be separately stated
on the applicable invoice.

Kraft Heinz may delay payment under the PO or Order
if Supplier fails to comply with any written request to
provide information or take other actions reasonably
necessary for Kraft Heinz to satisfy tax reporting
obligations, imposed on, or with respect to, payments
made pursuant to or in connection with the PO or
Order.

17. Assignment and Subcontracting. Supplier
will not assign, delegate, subcontract, or otherwise

transfer the PO or Order (or any portion of the PO or
Order) or any of its rights or obligations under the PO
or Order, without Kraft Heinz’s prior written consent.
Any attempted assignment, delegation, or transfer by
Supplier without Kraft Heinz’s prior written consent
will be invalid. Supplier will ensure that all material
terms of the PO or Order pertaining to the
subcontracting of the manufacture and/or supply of
any Products or performance of Services are
incorporated into any subcontract. Any permitted
subcontracting will not relieve Supplier of any of its
duties, obligations, responsibilities and/or liabilities
under the PO or Order.

Kraft Heinz may freely assign all or any portion of the
PO or Order without Supplier’s consent and will not
be liable for any obligations under the PO or Order
that arise after the assignment. Any successors or
permitted assigns will be bound by the terms and
conditions of the PO or Order.

18. No Third-Party Beneficiaries. Except as set
out in Section 9 above, the PO or Order gives no rights
or benefits to anyone other than Kraft Heinz and
Supplier and their respective successors and assigns.
There are no other third-party beneficiaries under the
PO or Order.

19. Non-Exclusivity; Aggregation. Unless
otherwise stated on the face of the PO or Order, the

PO or Order is not exclusive, and either party is free to
enter into similar agreements with any other party.
Purchases under the PO or Order and any other

POs/Orders with Supplier will be aggregated for
purposes of calculating any volume discounts or
rebates.

20. Independent Contractor. The PO or Order
does not create a partnership, joint venture,
employment relationship, or other similar relationship
between the parties and any of their respective
employees. Each party is an independent contractor to
the other party, has no authority to bind the other
party, and is solely responsible for its respective
employees, directors, officers, contractors,
subcontractors and agents.

21. Severability. If any part of the PO or Order
cannot legally be enforced, then Kraft Heinz and
Supplier agree that the provision will be deemed
modified as necessary to make it enforceable while
remaining as consistent as possible with the intent as
expressed in the PO or Order.

22. Waiver. No waiver by Kraft Heinz of any
breach of a provision of the PO or Order will be
deemed to constitute a waiver of any other breach of
such provision or any other provision of the PO or
Order. Any waiver by Kraft Heinz must be in writing.

23. Survival. The completion or cancellation of
the PO or Order will not affect any rights and
obligations which by their nature should continue to
survive.

24, Supplier Guiding Principles Compliance.
Supplier will comply with the Kraft Heinz Supplier
Guiding Principles, which are published at
https://www.kraftheinzcompany.com/ethics_and_com
pliance/supplier-guiding-principles.html (as such
Principles may be updated from time to time by
posting changes on the site) in performing under the
PO or Order.

25. Federal Contractor Responsibilities. Kraft
Heinz must comply with certain legal provisions
because it has contracts with the U.S. government. To
the extent applicable and if Supplier is not exempt,
Supplier will abide by the requirements of 41 CFR
§§ 60-1.4(a), 60-300.5(a) and 60-741.5(a). These
regulations prohibit discrimination against
qualified individuals based on their status as
protected veterans or individuals with disabilities,
and prohibit discrimination against all individuals
based on their race, color, religion, sex, or national
origin. Moreover, these regulations require that
covered prime contractors and subcontractors take
affirmative action to employ and advance in
employment individuals without regard to race,
color, religion, sex, national origin, protected
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veteran status or disability. To the extent applicable
and if Supplier is not exempt, Supplier also agrees to
comply with the regulations set forth in 41 C.F.R.
Parts 60-1 through 60-60 (women and minorities); 29
U.S.C. Section 793 and the applicable regulations
contained in 41 C.F.R. Part 60-741 (individuals with
disabilities); 38 U.S.C. Section 4212 and _ the
applicable regulations contained in 41 C.F.R. Part 60-
300 (covered veterans); the employee notice
requirements set forth in 29 C.F.R. Part 471, Appendix
A; FAR 52.203-13 & 15 (code of business ethics and
conduct); 52.219-8 (utilization of small business
concerns); 5$2.222-50 (combatting trafficking in
persons); 52.226-6 (promoting excess food donations
to nonprofit organizations); and 52.247-64 (preference
for privately owned U.S. flag commercial vessels).
Kraft Heinz may modify these requirements at any
time as reasonably required by changes in U.S. Laws.

26. Personnel Criteria Supplier will not assign
any person to perform work under the PO or Order
unless he or she: (a) is qualified to perform all of the
essential functions of the assigned duties for the
provision of Products and/or Services under the PO or
Order (subject to any duty to accommodate under
applicable Laws); (b) is legally entitled to work in the
country in which he or she is employed; and (c) has
either worked for Supplier for at least one year prior to
assignment or meets Supplier’s standard criminal
background check requirements (subject to restrictions
imposed by applicable Laws). Supplier will cooperate
with Kraft Heinz’s reasonable efforts to assess
Supplier’s compliance with this provision and, upon
request by Kraft Heinz, Supplier will certify its
compliance with the foregoing.

27. Drug Free Workplace. Supplier will have
and enforce a zero tolerance policy for use of illegal
drugs in the workplace with respect to any person
involved with the provision of Products and/or
Services under the PO or Order (subject to restrictions
imposed by applicable Laws). Supplier will cooperate
with Kraft-Heinz’s reasonable efforts to assess
Supplier’s compliance with this provision and, upon
request by Kraft Heinz, Supplier will certify its
compliance with the foregoing.

28. Employing Minority Vendors. Supplier
will use commercially reasonable efforts to engage

vendors and subcontractors qualified by the National
Minority Supplier Development Council, Women’s
Business Enterprise National Council, or any similar
certifying state/local agencies in providing Products
and/or Services to Kraft Heinz. Upon the request of
Kraft Heinz or its designee, Supplier will provide
information to Kraft Heinz identifying such qualified
parties and the amount Supplier paid to them.

Kraft Heinz may report these payments in the amounts
Kraft Heinz reports as paid to qualified minority
contractors (in which case Supplier will not include
such payments in its reports).

29, Cumulative Remedies. The rights and
remedies of Kraft Heinz under the PO or Order are
cumulative and are in addition to any other rights and
remedies available at law, in equity, or otherwise.
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USA

Kraft Heinz

 

Kraft Heinz Foods Company
200 East Randolph
Chicago IL 60601-6436

Purchase Order
Page No 1 of 1

 

PURCHASE ORDER NO: 4700886771 DATE: 16 JUL 2021
Supplier: Deliver To: All Invoices to be submitted to:
GROOME INDUSTRIAL SERVICE GROUP LLC Kraft Foods Group Brands LLC Accounts Payable
GROOME INDUSTRIAL SERVICE GROUP LLC DOVER DE MU Kraft Heinz Foods Company

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

22 AUDREY PL 1250 W NORTH ST PO Box 982140
FAIRFIELD NJ 07004-3416 DOVER DE 19904-7756 El Paso TX 79998-2140
USA USA USA
OB10 Account Number: AAA728420464

Vendor Contact: Purchaser Contact: Charles Mariner Payment Terms: Delivery Terms:
Telephone: Telephone: Due 7th day of month after 3 Delivered Duty Paid
E-mail: jbause@groomeindustrial.com E-mail: charles.mariner@kraftheinz.com months
Item Item Description Delivery Quantity Unit of Unit Price Total Price
No Date Measure USD

1 Beverages Silo cleaning 31 AUG 2021 24,520 each 1.00 24,520.00

TOTAL 24,520.00

VAT NO: Signature:

 

 

 

All materials and substances brought
onto any Kraft Heinz site must be in
the appropriate container and
accompanied by the relevant
documentation and labelling to meet all
current health and safety regulations.

executed

 

If for any reason this
order cannot be

on the date specified,
please notify the
contact person
identified above.

 

This Purchase Order is governed by, and is subject to, the Kraft Heinz Standard Terms and Conditions
of Purchase effective on the date this Purchase Order is received, which are incorporated by this
reference. The Kraft Heinz Standard Terms and Conditions of Purchase are available at
http:/Awww.kraftheinzcompany.com/terms_conditions_purchase/purchase-terms.html, and a copy is
also available upon request of your purchasing contact. Unless and to the extent that there is an
executed agreement between the parties, acceptance of this Purchase Order includes acceptance of
the Kraft Heinz Standard Terms and Conditions of Purchase.

 

EXHIBIT B

 
